          Case 2:12-mj-00269-JPD           Document 12        Filed 06/01/12      Page 1 of 2




 1

 2

 3

 4

 5

 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8   UNITED STATES OF AMERICA,                            NO. MJ12-269
 9
                                   Plaintiff,
10
            v.
11                                                        DETENTION ORDER
     DONOVAN SMITH
12
                                   Defendant.
13

14
     Offenses charged:
15
            Count 1:              Felon in Possession of Firearms as an Armed Career Criminal, in
16                                violation of 18 U.S.C. §§ 922(g)(1) and 924(e)
17          Count 2:              Possession of Stolen Firearms, in violation of 18 U.S.C. § 922(j)
18
            Count 3:              Interstate Transportation of Stolen Firearms, in violation of 18
19                                U.S.C. § 922(i)

20   Date of Detention Hearing: May 31, 2012

21          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

22   based upon the factual findings and statement of reasons for detention hereafter set forth, finds:

23          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
24          1.      Defendant has stipulated to detention, but reserves the right to contest his

25   continued detention if there is a change in circumstances.

26

     DETENTION ORDER
     18 U.S.C. § 3142(i)
     Page 1
          Case 2:12-mj-00269-JPD           Document 12        Filed 06/01/12      Page 2 of 2




 1          2.      There are no conditions or combination of conditions other than detention that

 2   will reasonably assure the appearance of defendant as required or ensure the safety of the

 3   community.

 4          IT IS THEREFORE ORDERED:

 5          (1)     Defendant shall be detained and shall be committed to the custody of the

 6                  Attorney General for confinement in a correction facility separate, to the extent

 7                  practicable, from persons awaiting or serving sentences or being held in custody

 8                  pending appeal;

 9          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

10                  counsel;

11          (3)     On order of a court of the United States or on request of an attorney for the

12                  government, the person in charge of the corrections facility in which defendant

13                  is confined shall deliver the defendant to a United States Marshal for the

14                  purpose of an appearance in connection with a court proceeding; and

15          (4)     The Clerk shall direct copies of this Order to counsel for the United States, to

16                  counsel for the defendant, to the United States Marshal, and to the United States

17                  Pretrial Services Officer.

18          DATED this 31st day of May, 2012.

19

20
                                                  AJAMES P. DONOHUE
21                                                 United States Magistrate Judge

22

23

24

25

26

     DETENTION ORDER
     18 U.S.C. § 3142(i)
     Page 2
